Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 1 of 21 PageID #:1214
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                      UNITED STATES DISTRICT COURT                         APR   26 z0lgrry
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION                        .,IHSUtlrB'R[YI8U*'

  PEOPLE OF THE STATE OF ILLINOIS
  ex rel. KWAME RAOUL, Attorney General
  of the State of lllinois, ) No. 1 :18-cv-2861
  Plaintiff, )Judge Andrea R. Wood                     No. 1 :18-cv-2861
  V.                                                   Judge Andrea R. Wood

  SUBURBAN EXPRESS, !NC.; ALLERTON
  CHARTER COACH, lNC.; and DENNIS
  TOEPPEN, individually and in his official
  capacity as owner,
  Defendants.

  RESPONSE TO MOTION TO ENFORCE CONSENT DECREE AND
  PLAINTIFF'S SUPPLEMENTAL FILING IN SUPPORT OF ITS MOTION
  TO ENFORCE CONSENT DECREE.

  Plaintiff on 4117119 tiled a motion to enforce consent decree ("motion") and
  on 4125119 made a supplemental filing in support of its motion to enforce
  consent decree ("filing").

  Defendants respond below.

  Violating Prohibition Against Penalizing Gustomers and Violating
  Prohibition Against Unwelcoming Communications

  1.    Defendants wish to comply with consent decree.

  2.      Defendants believe that they may respond to customer criticism in
  writing, including online, and that doing so does not penalize critics. Not all
  critics are customers.

  3.    Criticism by critics tends to be broad and wide-ranging. Defendants'
  responses to critics sometimes mirror critics criticism in breadth and tone.

  4.     Defendants' responses do not denigrate critics for their membership
  in any protected class.
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  5.     Defendants' responses sometimes denigrate critics for their bad
  behavior, lack of maturity, lack of responsibility, hypocrisy, or for engaging
  in unlawful, dangerous. or actionable conduct.

  6.    Defendants'criticism of critics is not intended to communicate that
  other members of a critic's protected class are not welcome to engage in
  commercial transactions with Defendants.

  7.   Out of an abundance of caution, Defendants removed two response
  pages about which Plaintiffs complained. Defendants do not intend to
  communicate agreement with Plaintiff's position through this act.


  Failing to Post Required Anti-Discrimination Policies

  1.    Defendants have posted all required anti-discrimination policies.

  2.     Defendants believe that anti-discrimination policies are not required
  on all websites which Defendants host, includng but not limited to:
  toeppenf il m.com, californ iazephyr.com, cycle66.com, toeppen.com,
  inert.com, and others unrelated to Defendants'business of selling and
  operati ng passenger transportation.

  3.     Defendants believe that anti-discrimination policies are not required
  on websites which are inactive or don't exist. Suburbs.com and
  allertoncharter.com both now return "Not Found / The requested URL was
  not found on this server."

  4.    Anti-discrimination policies were posted as soon as practical upon
  Defendant Toeppen's return from vacation. Notice of vacation was verbally
  tendered to all parties present at April 1,2019 mediation. Defendants had
  no way of knowing in advance when fully-executed and court-approved
  consent decree would be received, if at all.

  5.    Defendants added language criticizing AG Kwame Raoul's false,
  defamatory, misleading and deceptive press release before losing two-hop
  access to servers. Two-hop access involved using laptop in Utah to reach
  a desktop computer in Urbana via screen-sharing in order to use a terminal
  program on Urbana computer to reach a server in Philadelphia. Two-hop
  access suffered from extreme latency and instability. Two-hop access was
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  exceptionally frustrating to use. Defendants lost two-hop access on the
  evening of April 11,2019, and sought to restore two-hop access on April
  12, 2019, but two-hop access was not available again until late on April 13,
  2019. Direct ssh access to servers was not available to laptop at any time
  due to firewall rejecting ssh connections.

  6.    Defendants ultimately elected to wait an additional four days to
  undertake the numerous changes to multiple websites required by consent
  decree, expecting that making the changes via the two-hop connection
  would continue to be difficult. Defendants do not have an employee who
  has access to, or who could, make the necessary changes.


  Racist Public Commentary

  1.    Defendant Toeppen concedes that he should be particularly cautious
  to avoid using language which will potentialy upset others.

  2.      Defendant Toeppen's use of "MSG" to describe the construction of
  Plaintiff's lawsuit was not intended to evoke thoughts of asian food.
  Defendant Toeppen knows of no other food additive that is a catalyst or
  enhancer, as opposed to a flavoring.

  3.    Defendant Toeppen apologizes for offending anyone who was
  offended by the use of "MSG" in discussion of Plaintiff's lawsuit.

  4.        An email is not a "marketing ploy."

  5.     Defendant Toeppen does not know and did not know that using the
  acronym MSG would communicate that "any person is unwelcome,
  objectionable, or unacceptable because of race." Defendant Toeppen did
  not intend to communicate that "any person is unwelcome, objectionable,
  or unacceptable because of race."

  6.        Defendant Toeppen will choose his words more carefully in the
  future.
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  Additional Attack Webpages

  1.    Defendants maintain no attack pages. Defendants maintain
  response pages.

  2.     Response pages exist because Defendants had no effective way to
  respond to attackers the forums where Defendants were attacked. For
  instance, Reddit groupthink leads to messages becoming invisible through
  downvoting and hostile moderators have the ability to remove responses
  altogether. Yelp allows reviewers substantial latitude in posting personal
  information and expunged information, but does not give respondents
  symmetric rights.

  3.      Response pages do not penalize their subjects. Responding to a
  critic does not equate to penalizing the critic. lnvestigating a critic using
  Google and sharing the results does not equate to penalizing a critic.
  Observing critic's behavior and reporting on same does not equate to
  penalizing the critic.

  4.    Criticizing Yelp does not constitute penalizing a critic.

  5.      Defendant Toeppen concedes that the second instance of the word
  "chinese" was accidentally not redacted on Defendant's web page which
  criticizes Yelp for its asymmetric enforcement of policies. The subject page
  chronicles Defendant Toeppen's interaction with Yelp personnel as he
  attempted to get Yelp to remove Toeppen's personal information and
  expunged public records from Yelp's website. The second instance has
  now been redacted.

  6.     Defendant Toeppen created Page of Shame to list debtors and
  others who cheated company, with the goal of communicating that
  Defendant Toeppen does not care for cheaters, Page of Shame contains
  no Pll whatsoever, nor has it ever. Customers are not listed on Page of
  Shame in response to reviews or commentary.

  7.    No bans are being enforced for online commentary of any kind,
  pursuant to the consent decree. No such bans have been enforced since
  late April,2018.

  8.   Daily lllini ("D1") published an article that falsely claimed that
  Suburban Express postering had damaged woodwork. The individual who
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  was quoted in the article retracted his quote and admitted that posters
  were stapled to cork strips, not woodwork. Neither the author nor the Dl
  retracted the erroneous reference to posters stapled to woodwork. We
  choose not to serve employees of the Dl. We do not believe Dl employees
  to be a protected group, and their ban has nothing to do with online
  commentary or reviews. Defendants believe ban on Dl employees does
  not violate consent decree.

  L      Defendant Toeppen continues to believe that Sisi He is a danger to
  herself and others due to her opening the door of a moving vehicle, and
  that other comentary on Page of Shame is truthful, nondiscriminatory, non-
  punitive, and not violative of the consent decree.

  10.  Two of the twelve persons mentioned in the "banned" section of the
  Page of Shame are Dl employees. Ten are not.

  11   .  Defendants' issues with Katherine Chi extend beyond her 2013 Yelp
  review and online commentary. Page of Shame no longer states a reason
  for Katherine Chi's listing in the "banned" section. ln any event, drivers
  have been instructed not to enforce bans which do not include the words
  "DO NOT BOARD" and Katherine Chi does not have a "DO NOT BOARD"
  listing in our system.

  Failing to Post Required Anti-Discrimination Policies

  1.      Suburbs.com website was removed by deleting the index.html file.
  Service provider Tierra.net has their servers'directory listing flag set to
  false, meaning the absence of an index.html file does not result in directory
  listing being displayed. Therefore, removing index.html had the desired
  effect - it denied users access to the site.
                                                                 *contents* of
  2.      Allertoncharter.com website was removed by deleting
  the index.html file and replacing it with the words "This website does not
  exist." Allertoncharter.com is hosted on a server with directory listing flag
  set to true, meaning users would see a listing of confidential files if
  index.html file was deleted. Defendants have reconfigured server and
  allertoncharter.com website now displays same error message as
  suburbs.com.

  3.    Allertoncharter.com and lllinishuttle.com websites now both display
  error messages only, and nothing that can be misconstrued as content.
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  Misrepresentation to the Court

  1.     Defendant Toeppen, in a state of panic over AG's false, defamatory,
  misleading and deceptive press release, posted a defense to same before
  losing two-hop access to servers.

  2.     Copying and pasting text into two documents in the same directory
  without having to move any graphic elements around and without updating
  "last revised" date consumed very little time and required very few
  keystrokes. Compliance with notice requirements took approximately two
  to three hours on a fast cable lnternet connection at home. The two are not
  equivalent.

  Conclusion

  Defendants have endeavored to comply with consent decree as rapidly
  and thoroughly as possible. Defendants are committed to precisely
  complying with the language of the consent decree, which is the result of a
  very lengthy and detail-oriented negotiation. Defendants wish to put this
  matter in the rear-view mirror as quickly as possible.
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  I declare under penalty of perjury that the foregoing is true and correct.




  Dennis Toeppen

  Respectfully submitted April 20,2019 by Defendant Toeppen, representing
  himself and both of his businesses in his role of sole stockholder and
  president of both.
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                           Exhibit A
                   Notice of delayed return and
                pleas to reboot Urbana computer
Orivlng lnstructlons
                       Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 9 of 21 PageID #:1222
                                                                                                                                4/26/1S, 9r0g AM



  DRIVER INSTRUCTIONS

  Schedule 1405 (part                  of 1405)


  Company:


  Driver:              mick-i, driving
  Today's                                                                             y?   o   .k, r,/rj, l, /,t" ,1"
  Notes:

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        ArlDp                       Stop                                   Time                On      off
        Depart                      O'Hare Bus/Shunle Ctr                  6:30 PM
        Depart                      Schaumburg lL (Woodfi eld-ish)         7:00 PM              3
        Depart                      null                                   7:15 PM
        Depart                      Downers Crove, lL                      7:35 PM
        Depaft                      Bolingbrook, lL                        7:55 PM             r
        Arrive                      Hilton Champaign                       L0:10 PM
        Arrive                      UIUC * Armory                          10;L5 PM                    ;
        Arrive                      UIUC - Altgeld                         10:20 PM
        Arrive                      UIUC   -   ISR                         L0:25 PM                    2

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        BBM
        DGF                                      -1
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        scH                     7                -;
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  DISPATCHER

 lf you have any questions or problems, please contact Dennis at (217) 979-4500. Do not give this
 number to customers under any circumstance, unless you are willing to have your cell phone number
 given to customers.

  Back To Today's            Tripl




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                       Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 10 of 21 PageID #:1223
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    DRIVER INSTRUCTIONS

    Schedule 900a (parr of 900a)                                          412 U76Sl


    Company:


    Driver: ,lifk-i,             driving                                                                                  ,.;
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    Notes: 1 and oyo key in outhouse at hensley where                                                                     ?rs

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                       someone is there) or oyo (use counter                                  ttat L bl      J
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                       stops off to make instrs for two drivers.
                       signs are in hanging sign holder in shop.
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                       use door from wash bay to get in there. it's
                              the door to the office.                                         6', o rrrt th rr do7
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    SCHEDULE

        ArlDp                    Stop                                               Time                On          off
        Depart                   utuc -     rsR                                     9:00 AM
        Depart                   UIUC   -   PAR (Virginia)                          9:05 AM             1-
        Depart                   UIUC - Armory                                      9:20 AM             10
        Depart                   UIUC - Altgeld                                     9:25 AM
        Arrive                   Bolingbrook, lL                                    11:55 AM            -2
        Arrive                   Downers Grove, lL                                  12:15   PM          -2
        Arrive                   Schaumburg I L (Woodfi eld-ish)                    12:35   PM          -7
        Arrive                   O'Hare Terminal 2                                  12:55   PM

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    DISPATCHER

    lf you have any questions or problems, please contact Dennis at (217) 979-4500. Do not give this
    number to customers under any circumstance, unless you are willing to have your cell phone number
    given to customers.

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 DRIVER INSTRUCTIONS

 Schedule 900 (part of 900)                          ftr   ZO1O-O+-t 3 t1.b0413 E3MBI


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 SCHEDULE

        ArlDp                       Stop                                           Time                    On
        Depart                      Hilton Champaign                                   8:40 AM                        :u
        Depart                      UIUC        * ISR                                  8:50 AM             a
                                                                                                           L

        Depart                      UIUC        - Armory                               9:00 AM             15
        Depart                      UIUC        - Altgeld                              9:05 AM
        Arrive                      Willowbrook, lL                                    11:15 AM                       4
        Arrive                      Elmhurst, lL                                       11:40 AM                       4
        Arrive                      O'Hare Terminal 2                                  12:10   PM
        Arrive                      Golf Mill South of JC Penney                       12:25   PM                     8
        Arrive                      Schau mburg I L (Woodfi eld-ish)                   L2:45   PM                     1


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 DISPATCHER

 lf you have any questions or problems, please contact Den nis at (217) 979-45 00. Do not give this
 number to customers under any circumstance, unless you are willing to have your cell phone number
 given to customers.

 Back To Today's Trips




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                           Exhibit B
                       Criticism of Yelp
         Before and after 4125119 additional redaction
                   Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 13 of 21 PageID #:1226
YEIP I Suburbsn Express - ChtmpElgn, lL I YELP



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 http : //ww$r.yelp.com/bi-zlsuburban-express-champaign f alls outside our Content
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 Specialtles section to            nam€    a few of the things your   busj,ness does be8t   or   makes your
 business unique.
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 are typicalLy posted by imnature teens who are angry that they were held responsibLe
 for their actions -- perhaps for the first time in their lives, Non-refundable
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 come l"ooking for you, so you have to figure out the bus stop locatlon in advance.
 w€Icome to the real worl,d."

 feel free to resubmit content that complies with our Content Guidelineg
 (http://www.yelp,com/guidellnes). We hope you will contlnue to partlcipate on lelp
 while keeplng our Conlent Guidelines in mj.nd.
 lhanks    for using      YeIp!

 Regards,
 Penny
 YeLp User Support

 Yelp    Official    B1o9    | http:,//officialblog.yelp.com
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 Hi,
 Your public cottment in response to Siyao l's review of your business Suburban Sxpress
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 I.Ie   took a close look and decided to re&ov€ your comient because it discloses private
 j.nformation     (e.9., Iast nanes, personal information, etc.).
 Pleasevi6it our Content Guldelines (http3//twl,r,yelp.com/guidelines) for                   more
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 AB     for Siyao's bizarre claims - a quick visit to the Illinois Secretary of State's
 Corp/LlC search reveals that Suburban Expres6. Inc and A]lerton Charter Coach, Inc.
 and creen River Lines, rnc. are all separate legal entlties, contrary to Slyao's
 "theories." Siyao apparently cannot wrap his btain around the subcontractor
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 providing speedy, reliable service at a reasonable price.

http:r/suburbanexpress.com/yelpl                                                                                           Pags 1 ot 3
YELP



 negards,
'Reuben
                     Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 14 of 21 PageID #:1227
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 vEfP JAN 29,2Ol5  | O7:59PU UTC we love hearing from you, whether you'r6 sharing an
 awesome idea or have a problern to report. We want to make sure your Yelp experlence
 is great, and we're looking forward to doing what we can to help! For no!r, we just
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 a look and respond to your inqulry, typically vithin 5 business days.
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 Additional Informationr

 Dear fdiotB,

 Pleaae remove the           last     naine "Toeppen"      flom the reviev of suburban Expressr   champaign,
 II" wrj.tten by Slyao L. This dj-scLosure violates your own terms of service.
 He donot apprecj.ate that you have repeatedly deleted our response containing                         a
 slmnetric disclosure - of Eiyao's last name.
 You need       to   appLy your       policies consistently.

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 Hi.
 Your publlc comnent in response to siyao L.'s review of your business Suburban
 Express was flagged by Lhe comrnunity on the grounds that it wasn't appropriate                           for
 the forum.
 we    took a close look and decided to remove yout coment because it still                     discloses
 private i.nformation (e.9.. Iast namea, personal information, etc.).
 Please      vislt our content cuidelines (http://www.yelp.com/guidelin€s) fo!                 more
  information, and thank you for your interest in Yelp.
 Rernoved Content: I don't kD-tfulyao     L 1s, but I do know Siyao I,'*t. Siyao L**'
 seems  to be a pushy littld chinese |ngineering student with a fragile ego - and he
 has been permanently bannbd-JkorLdburban Express, You can find him onl1ne by
 Googling "siyao Illinols Automotive". ilere he is, trying to blan€ his pvoblems on
 others. If I lrere a guest in anoth€r country, I would certainly not act like siyao. I
 would be hud)Ie and polite.

 As for siyao's bizure claims - a quick visit to the Illinois Secretary of state's
 Corp/I&C search reveals that Suburban Express, lnc and Allerton Charter Coach, Inc.
 and creen Rlver Lines, Inc. are al} separate legal entities, contrary to Siyao's
 "theories." Siyao apparently cannot rrrap his brain around the subcofitractor
 relationship where multj.ple compilies work fo! one company to achieve a comon goaJ. -
 providing speedy, reliable service at a reasonabfe price'
  About the asterisks - Yetp wlll not allow this idiot's last name in our re6ponse, but
  they are happy to allow a last narle in the review' Yelp is hilarious. v{e'Il post our
  full^ response at https //www. suburbanexpress.colIl/responsepage
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 re took a close look and decided to removB your co[ment because lt dlscloses private
 lnforoation (e.g,, Last narnes, peraonal infornation, etc.),
 Pleasevisit ou! content Guidelines (http:,//$ww.yelp.com/guidelines) for                    Rore
 information, and thank you for your interest in yelp.
 Removed    Content:
 Surther proof that Yelp is for wh.luey 1o6ers.
 Regards,
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                    Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 16 of 21 PageID #:1229
YELP   I Suburbln Exprels - Champalgn, lL I YELP


. Suburban Express - Champaign, lL I Yelp



 Yelp Kind of Sucks




 The YeIp Coma[almeutB                                                                ,4;*^ Fr y t/j
 fhou sbalt not cri.tlclze ielp ou f€lpr

 FEB    09. 2015 |         l.1r36At4   PST
 Hi,
 we uanted  to let you know your Specialtles section on
 http://www.yelp.com/bizlsuburban-express-champaign fa1ls outside our Content
 Guidelj.nes because it contained displaced content. we encourage you to use the
 Specialties sectj.on to name a few of the thlngs your business does best or makes your
 business unigue.
 lle've    removed     the following!
 "we are the worst bus company ever -- Just read the reviews! we can't figure out why
 nearly 120,000 passengers rode us last year since ve're so bad. yelp is a pretty
 sorthless tool if your goal ls to gather objective information. Negatlve reviews here
 are typically posted by lmmatule teens who are angly thal they were held responsible
 for their actions -- perhaps for the first time in their lj.ves. Non-lefundable
 tickets are non-refundable.  Buses ]eave on tine, wi.th or without you, The bus won't
 come looking for you, so you have to figure out the bus stop Location in advance.
 I{elcome to the real world."

 Feel free   to resubmit oontent that complies with our Content Guidelines
 (http://wuw.yelp.com/guidelines). we hope you will continue to particlpate on yelp
 v/hi"Ie keeping our Content Cuidelines in mind.

 Thanks      for using Yelp!
 Begards,
 Penny
 YelP U6er SuPport

 Yelp Offlcial BIog I httpr//officiaLblog.yelp,com
 yelp support center I http://vwv.yelp-support.com
 YeIp     for              I https://biz.yelp,cofi
                Busj.ness Owners

 for your reference this is Case #: 3219832

 Thou shalt trot Dention reviewer's nalte                    ln response to a revier^rwhich divulgos
 youE orfir pareoaal inforratiou:


 JAN    26, 2015 I         12,04PU     PST
 Hi,
 Your public coranent in response                  to Siyao L's review of your businegs Suburban Express
 \ras flagged by the comnunity on                  the grounds that it wasn't appropriate for the forum.
 lle took a close look and decided to remove your comnent because it discloses private
 inforftation (e.9., last names, personal informationr etc.).
 Pleasevisit our Content Guidelines (http://www.yelp.com/guidelines) for                    more
 information, and thank you for your interest in YeIp.
 Removed content: r don't ttpo6tf,6*fiio L is, but r do know Siyao Luan. siyao Luan
 se€ma to be a puehy littl$  *******-fr(ternatlonal student with a fragile ego - 6nd he
 has been permanently bannld*lrom-guburban Express. Here he   is, trying to b}ame his
 problens on othert, If I were a guest in another country, I would certainl.y not act
 Iike siyao. I would be humble and polite,
 Asfo! S-iyao's bizarre claims - a guick visit to the lllinois Secretary of State's
 Corp/LtC search reveal.s that suburban Express, Inc and Allerton Charter Coach, Inc.
 and Green  River tines, Inc. are all separate legal entities, contrary to S.iyao's
 "theorles." 6iyao apparently cannot Eap his brain sound the subcontractor
 relat.io[shlp where tnultip]e companles work for one company to achieve a comnon goal -
 provldlng speedy, reliable service at a reasonable prlce.

 htlp://subu(banexpress.comlyslp/                                                                          PagB   1   o, 3
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                      Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 17 of 21 PageID #:1230
           Suburban Express - Chsmpsign, lL I yELp
                                                                                                                     4125119,8:17 PM


 Regards,
 Reuben
 YeIp Support.
 San       !'ranclsco, California
 Yelp Official Blog I http://officialbJ.og.yetp.com
 Yelp Support Center I http://wvw.yelp*suppolt.com
 velp for Business Grners I https:,//biz.yelp.com
 for your reference thls is case #: 318g406
                                                                                                            z/3
 YELP JAN 29' 2015 I 07:59pM urc we love hearing from you, whether you,re sharing an
 awesorne idea or have a problem to report. we want to make sure your yerp
 is great, and we're rooking fomard to dolng what we can to hel;r ror n-w,experi;nce
                                                                             we just
 wanted to lec you know that we've received your nessage. one of our agents will take
 a look and respond to your ingulry, typically within i business days.
 Please do not submLt multiple lngulries about the same issue- thls wil"l slow down our abiLity to        respond.
 -The Yelp Support Team
 Origlnal         Hessaget

 Additional Information              :


 Dear       ldiots,
 Please remove the last name "Ioeppen,, from the review of Suburban Expregs, Charopaign,
 fL written by Siyao L. This dieclosure violates your o$rn terma of service,
 we donot appreciate that you have repeatedly deleted ou! response containing                      a
 syunetric disclosure - of Siyao's Last nane.
 vou need         to apply your policiee consistently.

 For your reference             this is    Case      #:   3181793


 Ihou shalt not atte![pt to u3e tbe Iatertret to Eidestep AlElghty yelp:

 Hi,
 your pubric con{flent           in response to siyao !.'s review of your buainess suburban
 Express was flagged by the community on the grounds             that it wasn't appropriate for
 the forum.
we     took a close Look and decided to remove your coment. because it still                  di6closes
 private information (e.g., last                     narRes,   personal informalion, etc.),
 Pleasevisit our content cuidelines (http://vm.yerp.com/guidellnes) for nore
 information, and thank you for your interest in yelp.
Removed content: r oon'trX5ffiF\ao      L is, but I do know siyao L***, siyao L***
 seeFsto be a pushy litt[e ******* fngineering student with a fragi]e ego - and he
has been permanently bannLC-€cenrffburban Express. you can flnd him onllne by
eoogling "Siyao Illinois Autornotive". Eele he is, trying to blame his probJ.elns on
others. rf r rdere a guest in another country, r would certainly not act like siyao. r
would be humble and polite.

As for siyao's bizarre craims - a quick visit to the rLrirois secretary of state's
corp/Ltc aearsh revealg that Suburban Express, rnc and ALlerton Charter Coach, Inc.
and Green River Lines, Inc. are all separate legal entities, contraly to Siyao,s
"theoriea." Siyao apparentty cannot wlap his braln around the aubcontractor
relationsh.ip L'here murtipl,e companles work for one company to achieve a comlon goal -
providing speedy, reliable service at a reasonab).e price.
About the asterlsks - yelp rrill not allow tbis ldiot's last name in our r€sponse, but
they ate happy to allow a ]ast name in the review. yelp is hllarious. We,ll post our
 full       reaponse     at http:   //wuw.suburbanexpress.corn/responBepage
R€gards,
&uby
Yelp Support
San        Franclsco. California
Yelp Official Blog I http://offj.cialblog.yetp,com
YeIp Support Center I http://www.yelp-support.com
yelp for Business Owners I https:.//biz.yelp.com
For your reference              this is    Case      #r   3L75L77


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                                        Document #: 110 Filed: 04/26/19 Page 18 of 21 PageID #:1231
                                         I                                                                                    4126119, 8r'17 PM



'rbou SlEtly Shalt flot,

 {he yelp gripe doesn't even match the "Renoved Content,'l
 Hi,
 lour public       coltlnent    in response to     uayank   J's   [I.4ayank   Jain] revie!, of your   business
 Suburban Sxpres6 was fl-agged               by the corltunity...
 we took a close look and declded to renove your como€nt because it dlscloses private
 inlormation (e.9., Last nasEs, personat informatlon, etc.).
                                                                                                                        j/j
 Please  visit our content cuidallnes (httpr/,2*r,rw.ye1p.com/guiderines) for mole
 inf,oEtration, and thank you for your interest in yelp.
 Renoved Content:
 I'urther proof that YeIp is for whiney losers.
 Regalds,
 Reuben
 Yelp Support
 Ssn Francisco,         californla
 yelp Official Blog I https//officialblog.yetp.com
 Yelp Support Center I http,//lrww.yelp-eupport.com
 YeIp for Business owners I F,tr-:pE./lblz.yelp.com
 For your reference this 18 Case #: 3213969


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 Yelp    lsn't pro fre€         speech   - yelp is pro yelp cllcks.                                              s,,"
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Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 19 of 21 PageID #:1232




                           Exhibit C
                   Chi entry on page of shame
                Before and after 4125119 redaction



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                   Case: 1:18-cv-02861 Document #: 110 Filed: 04/26/19 Page 20 of 21 PageID #:1233
Suburban Exprsss I Nonhbrook Old Orchard woodtl€ld Oakbrook Creslwood Tlnley Chsmpaign Urbana I Not lllini Expr€ss Noi LEX


                                        Downingtown, PA 19335                               (   {84   )   883-2064
                                        ashtaka2         €   il1inois.      edu             March,2017
                                        Taylor J Jeffries                                   7895 Drake Alcove
                                        Woodbury, MN 55L25                                  ( 201 ) 7s9-06s3                   &c-'{'**
                                        taylor j j 1 €comcast. net                          .ranuaryr        2017

                                        Cartex S fsaacson
                                        Riverwoods, IL
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                                                                       60015                1224,) 659-6747
                                        csisaac€ilstu.
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                                                                     edu

                                        WARREN       T       THOMAS                         1009 w Pennsylvanj"a
                                        westnont, IL                 61801                  224-392-390L
                                        warren_thomas I rocketmail . com                    uaxchr         2014


                                        Eonned

                                        Sometimes, cu$tomers do ridiculous things which get them banned. Cutting off
                                        a bus so you can get on will get you banned every time. Delaying a bus will get
                                        you banned. And so on. Here is a list of people who have been permanently
                                        banned for various reasons:

                                        Name/ Reason

                                        Sisi        He                                      (   508   )   698-7323
                                        305 E white St #101                                 Charnpaign,           ft   61820
                                        angeliawuchen            0   hotmail      .   com

                                        We    believe Sisi" He is a danger to herself and others.
                                        WeIshans, Olivia                                    (   815   )   673-8113
                                        509 E washington St.                                Ponti-ac, \L 61764
                                        okw2€dai1yiIlini.                  corn

                                        Identified herself as an e&ployee of an entity whose
                                        employees are not r+elcome on Suburban Express.
                                        Aaron t Navarro                                     2795 Delaware Ln.
                                        tindenhuret, It                 60046               (2241 237-5817
                                        aaronlarnavarro€               gma5.l. com          March,2017
                                        Aaron L Navarro is morally and ethically chaLlenged,
                                        in our opinion.
                                        Greg Pace                                           2523 River l.loods Drive
                                        NapervilIe, II,                60565                June,2016
                                        ( 630 ) 779-7351                                    grpace€gmaiI. com

                                        Greg Pace is norally and ethically challenged, in our opinion'
                                        Nicole, Xatherine, or Joseph Hancock
                                        eut off a rolling bus utith a car in order to board it
                                         Laulie Casas, pLastic surgeon, and l4anfred Kubler
                                         caused a bus to be delayed
                                         Jeremy Levalr &lBiII--&EyB!, and the entire reval family
                                         of Eighland Park, IL We find lhem to be generally
                                         unpleasant, if not i.nsane, people and r^re do not irant
                                         them anlrwherB**lelrr"r}u:r*lxt3g
                                         ditrerine ctri of                 washington Dc area
                                         we   believe customer is mentally unstable based on
                                             r activities as reddlt uaer A:lmostcrad100



                                Suburban Express I (217) 344-5500 | 714 S Sixth Street Champalgn, lL 61820
                                                  lmages & Text copyright 1983-2017 Suburban Express lnc



 http:r/suburb!ncxpress,cos/dishonoredpmts.html                                                                                           PagG 5   ot 6
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Suburbsn ExprBss I Northbrook old Orchard Woodlield Oakbrook crestwood Tinley champaign Urbsns I Not iltini Express Noi LEx              d125l1g.9:58 pM


                                       Downingtown, PA 19335                               (484) 883-2064
                                       ashtaka2 € il"   linois     .   edu                I'larch, 2017
                                       Taylor J ,feffries                                 7895 Drake Alcove
                                       woodbury, l{N 55125                                ( 201   ) 7s9-06s3
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                                       Carter S Isaacson                                  2033 !.{ilvraukee Ave
                                       Riverwoods, IL 60015
                                       csisaac0ilstu. edu
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                                       Westmont, IL
                                                      THOMAS                              1009 r{ Pennsylvania                     .{t v
                                                                61801                     224-392-390t
                                       warren_thomae            rocketmail                March,2014
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                                       Sometimes, customers do ridiculous things which gel them banned. Cutting off
                                       a bus so you can get on will get you banned every time. Delaying a bus will get
                                       you banned. And so on. Here is a list of people who have been permanenfly
                                       banned forvarious        reasons:
                                       Nane, Reasor,
                                                                                                                              ti

                                       Sisi      He                                       (   608) 698-?323
                                       306 E. white St #101.                              Champaign,        IL    61920
                                       angeliawuchen € hotmail . com

                                       we   believe Sisi He is a danger to herself and others.
                                       welshans, ol,ivia                                  (815) 673-8113
                                       509 E Washington St.                               Pontiac, It 61754
                                       oJcn20daityJ.lIini. com
                                       fdentified herself as an enployee of an entity vrhose
                                       employees are not welcome on Suburban Express.
                                       Aaron L Navarro                                    2795 Delav/are Ln.
                                       tindenhurst, IL 60046                              (224)     211-5817
                                       aaronlarnavarroggmail,com                          Uarch,     2017

                                       Aaron L Navarro is moraLly and ethical-ly eha),Ienged,
                                       in our opinion.
                                       Greg Pace                                          2523 River        Woods Drive
                                       Naperville, ft 60565                               June, 2016
                                       (630) 779-7351                                     grpace€gnail.con
                                       creg Pace is morally and ethically challenged, in our opul]-on,
                                       Nicole, Kathelj-ne. or Joaeph Hancock
                                       Cut off a rolling bus with a car in order to board it
                                       Laurie CasaE, plastic surgeon, and Nanfred Xubler
                                       Caused a bus to be delayed

                                       Je!emy__!eyn1,Alain Leval. and the entire Leval farnily
                                       of llighland Park, IL We find them to be generally
                                       unpleasant, if not insane, people and we do not want
                                       them an!,/here near our buses or offices.




                              Suburban Express I (217) 3&L5500 I 714 S Sixth StreoL Champalgn, lL 61820
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